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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 RONALD CHAD ALLEN,                                                                       Plaintiff,

 v.                                                         Civil Action No. 3:17-cv-211-DJH-CHL

 EQUIFAX INFORMATION SERVICES, et
 al.,                                                                                  Defendants.

                                             * * * * *

                                              ORDER

         Plaintiff Ronald Chad Allen and Defendant Credit Bureau Systems, Inc. have agreed to a

 settlement as to Allen’s claims against Credit Bureau. (Docket No. 39) Accordingly, and the

 Court being otherwise sufficiently advised, it is hereby

         ORDERED that Allen’s claims against Credit Bureau Systems, Inc. are DISMISSED

 without prejudice. The parties shall tender an agreed order of dismissal with prejudice within

 thirty (30) days of the date of entry of this Order.

         This Order does not affect Allen’s claims against any other Defendant in this matter.

 June 26, 2018




                                                           David J. Hale, Judge
                                                        United States District Court




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